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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ARTHUR GREENSTEIN                                §
Plaintiff,                                       §
                                                 §
                                                     CIVIL ACTION NO. 3:15-cv-699
vs.                                              §
                                                 §
                                                     JURY
THE TRAVELERS HOME AND                           §
MARINE INSURANCE COMPANY,                        §
Defendant.                                       §


                           DEFENDANT’S NOTICE OF REMOVAL

         Defendant The Travelers Home and Marine Insurance Company (“Travelers” or

“Defendant”) files its Notice of Removal of this action from the 191st Judicial District Court of

Dallas County, Texas to the United States District Court for the Northern District of Texas,

Dallas Division, the Court for the District and Division encompassing the place where the

lawsuit is currently pending. This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1441 and

1446. In support hereof, Travelers shows this Court as follows:

         1.    On January 13, 2015, Plaintiff Arthur Greenstein (“Plaintiff”) commenced an

action in the 191st Judicial District Court of Dallas County, Texas, styled Arthur Greenstein vs.

The Travelers Home and Marine Insurance Company, where it was assigned Cause No. DC-15-

00383.

         2.    On February 13, 2015, Travelers was served with a citation. Removal is timely

because thirty (30) days have not elapsed since any defendant was served with a summons or

citation. 28 U.S.C. §1446(b)(1); Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344,

354 (1999) (holding that the 30-day deadline to remove begins on the date the summons or

citation is served even if the complaint is received at a prior date).



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       3.      Travelers is, contemporaneously with the filing of this Notice, giving written

notice of filing of this Notice of Removal to the clerk of the 191st Judicial District Court of

Dallas County, Texas, and will serve a copy of the Notice of Removal on Plaintiff.

       4.      In accordance with Local Rule 81.1, attached as Exhibit “A” is a copy of all state

court materials. Travelers has also filed contemporaneously with this Notice a civil cover sheet,

a supplemental civil cover sheet, and a separately signed certificate of interested persons and

disclosure statement that complies with Local Rule 3.1(c) and Rule 7.1 of the Federal Rules of

Civil Procedure.

                                  GROUND FOR REMOVAL: DIVERSITY

       5.      This Court has original jurisdiction over this case under 28 U.S.C. § 1332 because

this is a civil action between citizens of different States where the matter in controversy exceeds

$75,000.

               (a)     The Amount in Controversy Exceeds the Federal Minimum
                       Jurisdictional Requirements.

       6.      “Plaintiff seeks monetary relief over $1,000,000.00.”          See Ex. A-2 at ¶ 70.

Accordingly, the amount in controversy in this matter meets and exceeds the federal

jurisdictional minimum of $75,000, exclusive of interest and costs.

               (b)     Complete Diversity between Plaintiff and Defendant Exists.

       7.      Plaintiff was at the time of the filing of this action, has been at all times since, and

is still an individual resident citizen of the State of Texas. For diversity purposes, an individual

is a citizen of the state of his domicile, which is the place of his true, fixed, and permanent home

and principal establishment, to which he has the intention of returning home whenever he is

absent therefrom. See Stine v. Moore, 213 F.2d 446, 448 (5th Cir. 1954). According, Plaintiff is

a citizen of Texas.



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       8.      Under the diversity statute, corporations “shall be deemed to be a citizen of every

state and foreign state by which it has been incorporated and the state or foreign state where it

has its principal place of business. . . .” 28 U.S.C. § 1332(c)(1). Travelers is a corporation

organized under the laws of the State of Connecticut with its principal place of business in the

State of Connecticut. Accordingly, Travelers is a citizen of Connecticut.

       9.      Because the amount in controversy exceeds $75,000 and Plaintiff is a citizen of

Texas while Defendant is a citizen of Connecticut, this Court has original jurisdiction over the

present action pursuant to 28 U.S.C. § 1332. Removal is therefore proper.

       WHEREFORE, Travelers prays that the above-described action now pending in the 191st

Judicial District Court of Dallas County, Texas be removed to this Court.


                                             Respectfully submitted,

                                               /s/ Wm. Lance Lewis
                                             WM. LANCE LEWIS
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                                             THE TRAVELERS HOME AND MARINE
                                             INSURANCE COMPANY




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                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on the 3rd day of March, 2015, a true and correct
copy of the foregoing document was served, via electronic case filing, in accordance with the
Federal Rules of Civil Procedure, upon Plaintiff’s counsel:

                                    Scott G. Hunziker
                                    THE VOSS LAW FIRM, P.C.
                                    26619 Interstate 45 South
                                    The Woodlands, Texas 77380.


                                            /s/ Marcie L. Schout
                                           Marcie L. Schout

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